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                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                     TAMPA DIVISION


JAMES FICKEN, trustee,
SUNCOAST FIRST TRUST; and
SUNCOAST FIRST TRUST,

        Plaintiffs,

vs.                                                             Case No.: 8:19-cv-01210

CITY OF DUNEDIN, FLORIDA; et al.,

        Defendants.
                                                         /

                       UNOPPOSED MOTION OF JUSTIN M. PEARSON
                       TO WITHDRAW AS COUNSEL FOR PLAINTIFFS

        Pursuant to Local Rule 2.03(b), Justin M. Pearson hereby files this Unopposed Motion to

Withdraw as Counsel for Plaintiffs as follows:

        1.        The undersigned, Justin M. Pearson, is one of three attorneys representing the

Plaintiffs.

        2.        All three of the attorneys representing the Plaintiffs work at the same law firm.

        3.        Due to the manner in which the responsibilities for this and other cases have

evolved, it is now clear that the other two attorneys for the Plaintiffs, instead of the undersigned,

will be handling all of the responsibilities for this case.

        4.        Ari S. Bargil and Andrew H. Ward, of the Institute for Justice, remain as counsel

for Plaintiffs and may continue to be served at the addresses noted below in the signature block.

Ari S. Bargil will serve as lead attorney in the case.

        5.        The undersigned has conferred with the Plaintiffs, and the Plaintiffs do not object

to this motion.
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       6.      Pursuant to Local Rule 2.03(b), the undersigned has conferred with the

Defendants’ counsel and has been informed by the Defendants’ counsel that they do not oppose

this motion.

       WHEREFORE, undersigned counsel respectfully requests that this Court grant this

motion to withdrawal and permit undersigned to withdraw as counsel. Furthermore, as per Local

Rule 1.05(c), undersigned respectfully requests that the Court designate Ari S. Bargil as Trial

Counsel in this case.

                  CERTIFICATE OF COMPLIANCE WITH LOCAL RULE 3.01(g)

       I hereby certify that I have conferred with counsel for Defendants regarding this motion

and he agrees to the relief requested herein.



       Dated: October 10, 2019.

                                      Respectfully submitted,

 /s/ Justin M. Pearson
 Justin M. Pearson (FL Bar No. 597791)*             Andrew H. Ward (NY Bar No. 5364393)**
 Ari S. Bargil (FL Bar No. 71454)                   INSTITUTE FOR JUSTICE
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          abargil@ij.org

 *Trial Counsel                                     **Admitted Pro Hac Vice




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                                CERTIFICATE OF SERVICE
       I HEREBY CERTIFY that on this 10th day of October 2019, a true and correct copy of

Unopposed Motion of Justin M. Pearson to Withdraw as Counsel for Plaintiffs was filed with the

Clerk of the Court using the CM/ECF system, which will send a notice of electronic filing to the

following CM/ECF participants:

Jay Daigneault
Randy Mora
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Counsel for Defendants


                                     /s/ Justin M. Pearson
                                     INSTITUTE FOR JUSTICE




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